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UNITED STATES DISTRIC COURT
EASTERN DISTRICT OF NEW YORK

 

IAN HARRIS,

Plaintiff, : Docket No.
- against -

CITY OF NEW YORK, THE QUEENS COUNTY

DISTRICT ATTORNEY’S OFFICE, THE NEW

YORK CITY POLICE DEPARTMENT POLICE :

OFFICER OMAR CASTILLO, POLICE OFFICER : VERIFIED COMPLAINT
CONWAY, DETECTIVE HABER, and POLICE :

OFFICER JOHN DOE NUMBERS 1-10, unknown

and intended to be named New York City Police

Officers involved in the occurrences herein, :

individually and in their respective capacities as : Jury Trial Demanded
members of the New York City Police Department, :

Defendants.
x

 

Ian Harris (“Mr. Harris” or “Plaintiff”), by his undersigned attorneys, Raiser & Kenniff,
P.C., as and for his Verified Complaint against the City of New York (the “City”), the Queens
County District Attorney’s Office (the “DA”’), the New York City Police Department (the
“NYPD”), and Police Officer John Doe Numbers 1-10, unknown and intended to be named New
York City Police Officers involved in the occurrences herein, individually and in their respective
capacities as members of the New York City Police Department (together, the “Defendants”),

hereby allege as follows:

PRELIMINARY STATEMENT

1. This action is brought pursuant to 42 U.S.C. §§ 1983 and 1988, the Fourth and
Fourteenth Amendments to the United States Constitution, and Article I, §§ 11 and 12 of the

New York State Constitution. Plaintiff brings this action for violations of his civil rights, false
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arrest, false imprisonment, malicious prosecution, negligent hiring, negligent training and
supervision, and other wrongful acts by Defendants.

2. Plaintiff alleges that on or about September 3, 2011, at approximately 10:40 p.m., he
was lawfully present on his property at 212-40 112th Road, Queens, New York 11429, when he
was unlawfully handcuffed, detained, restrained, wrongfully taken into custody, and wrongfully
imprisoned by officers of the NYPD.

3. Plaintiff further alleges that Plaintiff was maliciously prosecuted by the DA on two
counts of Criminal Possession of a Weapon in the Second Degree (Penal Law § 265.03).

4. On February 29, 2012, the Queens County Supreme Court denied Plaintiff's motion to
suppress physical evidence recovered and his statements made to the Police Officers. The denial
of Plaintiff's motion led to his conviction upon a jury verdict on August 8, 2012. However, on or
about November 26, 2014, the Supreme Court, Appellate Division, Second Department reversed
the lower court’s decision denying Plaintiff's motion to suppress and dismissed the indictment
(See People v. Harris, 122 A.D.3d 942 (2d Dep’t 2014)).

5. Plaintiff alleges that on the night of his arrest, the Defendant Officers and their
superiors and employers violated his Fourth Amendment right to be free from unreasonable
searches and seizures; that they unlawfully entered his gated property without permission and
conducted a search of his person without his permission, without cause and in direct conflict with
both his state and federal privacy rights. Plaintiff further alleges that Defendants caused Plaintiff
severe injuries, including, but not limited to, personal injuries, pain and suffering, reputational
damage, loss of wages and employment, loss of his right to move and travel freely, legal fees, —
and related damages, by reason of the intentional, malicious, willful, reckless, careless, and/or

negligent conduct of Defendants, their agents, servants, employees, and/or licensees.
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6. Plaintiff further alleges that the County, NYPD, and the DA, are individually, jointly
and severally liable for the violations of Plaintiff's constitutional rights, in that said defendants
have:

7. falsely arrested and imprisoned Plaintiff in violation of his rights against unreasonable
searches and seizures as protected by the Fourth and Fourteenth Amendments to the U.S.
Constitution;

8. maliciously prosecuted Plaintiff despite lacking admissible evidence to demonstrate
Plaintiff's guilt;

9. failed to properly and adequately hire their agents, servants, employees, and/or
licensees involved in the occurrences herein; and

10. failed to properly train, instruct, supervise, and/or discipline their agents, servants,
employees, and/or licensees involved in the occurrences herein.

JURISDICTION AND VENUE

11. Jurisdiction is conferred upon this Court by 28 U.S.C. §§ 1331, 1343(a)(3) and (4),
this being an action seeking redress, and to recover damages for violations of Plaintiffs
constitutional and civil rights.

12. Venue is proper for the United States District court for the Eastern District of New
York pursuant to 28 U.S.C. § 1391(b).

PARTIES

13. Plaintiff was and is, at all relevant times herein, a resident of the County of Queens,
State of New York.

14. The Defendant DA was and is, at all times relevant herein, a municipal agency of the

Defendant City.
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15. Police Officer Omar Castillo (“Castillo”), Police Officer Conway (“Conway”),
Detective Haber (“Haber’’), and Police Officer John Doe Numbers 1-10 (collectively, the
“Defendant Officers”) were and are, at all times relevant herein, officers, employees, and agents
of the Defendant NYPD, a municipal agency of the Defendant City.

16. At all times relevant herein, the Defendant Officers were acting under color of state
law in the course and scope of their duties and functions as agents, servants, employees, and
officers of the NYPD, and otherwise performed and engaged in conduct incidental to the
performance of their lawful functions in the course of their duties. They were acting for, and on
behalf of, the City at all times relevant herein with the power and authority vested in them as
officers, agents, and employees of the City and incidental to the pursuit of their duties as officers,
employees, and agents of the City.

17. The Defendant City is a municipal entity created and authorized under the laws of the
State of New York. It is authorized by law to maintain a police department and a district
attorney’s office, which both act as its agents in the areas of law enforcement and criminal
prosecution respectively, and for which it is ultimately responsible. The City assumes the risks
incidental to the maintenance of a police force and a district attorney’s office, and the
employment of police officers and assistant district attorneys, as said risk attaches to the public
consumers of the services provided by the City.

STATEMENT OF FACTS

18. On or about September 3, 2011, at approximately 10:40 p.m., Castillo and Conway

were on patrol in the area of 212-40 112th Road, Queens, New York 11429.
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19. As Castillo and Conway approached 212-40 112th Road, Queens, New York 11429
in their marked patrol car, they saw Plaintiff standing on the sidewalk of the residence smoking a
cigarette.

20. Plaintiff entered the property through a gate and walked up the driveway, Castillo
exited his vehicle, opened the gate, followed Plaintiff up the driveway, and immediately patted
down Plaintiff for a weapon without conducting any meaningful inquiry and without probable
cause to conduct a pat down.

21. Upon information and belief, Castillo unlawfully recovered a gun from Plaintiff and
unlawfully handcuffed and arrested him for Criminal Possession of a Weapon.

22. On February 29, 2012, Plaintiff, by his criminal attorney, filed a motion to suppress
the physical evidence recovered and Plaintiff’s statements to the officers on the ground that his
rights against unreasonable searches and seizures as protected by the Fourth and Fourteenth
Amendments had been violated by the actions of Castillo and Conway.

23. The Queens County Supreme Court, however improperly denied Plaintiffs motion to
suppress, and consequently, Plaintiff was convicted upon a jury verdict of two counts of
Criminal Possession of a Weapon in the Second Degree on or about July 23, 2012.

24. On or about August 8, 2012, Plaintiff was sentenced to 3.5 years incarceration
followed by a 2.5 year period of post-release supervision.

25. On or about November 26, 2014, the Supreme Court, Appellate Division, Second
Department reversed the decision of the lower court that denied Plaintiff's suppression motion,
and dismissed the indictment, concluding that Castillo lacked reasonable suspicion to believe
that Plaintiff posed a threat to the Police Officers’ safety to justify a pat-down, especially when

an “unidentified bulge” alone was insufficient to indicate the presence of a weapon, and the
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Officers were not responding to a report of a crime involving a weapon (See People v. Harris,
122 A.D.3d 942 (2d Dep’t 2014)).
FIRST CLAIM
VIOLATION OF RIGHTS SECURED BY 42 U.S.C. § 1983
AND BY THE FORUTH AND FOURTEENTH AMENDMENTS
OF THE UNITED STATES CONSTITUTION

26. Each and every allegation set forth in the preceding paragraphs is incorporated herein
by this reference with the same effect as if fully set forth herein.

27. At all times relevant herein, the conduct of the City, the NYPD, the DA, and the
Defendant Officers were subject to the provisions of 42 U.S.C. §§ 1983 and 1988.

28. As of September 3, 2011, there existed a clearly recognized federal right pursuant to
the Fourth and Fourteenth Amendments of the United States Constitution to be free from
unreasonable seizures by government actors, and deprivation of liberty without due process of
law.

29. The conduct and actions of the Defendants, acting jointly and severally under color of
state law, in unlawfully arresting and imprisoning Plaintiff, and in unlawfully prosecuting
Plaintiff knowing that they did not have probable cause for the search and seizure of Plaintiff or
the gun therein, was done intentionally, maliciously, negligently, and/or with a reckless disregard
for the natural and probable consequences of their acts, was done without lawful justification,
and was designed to cause and did cause damage to Plaintiff's reputation, loss of wages and
employment, legal fees, and related damages in violation of Plaintiff's Constitutional rights as

guaranteed under 42 U.S.C. § 1983, and the Fourth and Fourteenth Amendments to the U.S.

Constitution.
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30.As a direct and proximate result of the Defendants’ wrongful acts, policies, practices,
customs, and/or usages complained of herein, the Plaintiff suffered injuries and damages,
including but not limited to, personal injuries, pain and suffering, reputational damage, loss of
wages and employment, legal fees, and related damages, without any negligence on the part of
Plaintiff contributing thereto.

SECOND CLAIM
VIOLATION OF RIGHTS SECURED BY 42 U.S.C. §1983
AND BY THE FOURTH AND FOURTEENTH AMENDMENTS
OF THE UNITED STATES CONSTITUTION BY FAILING TO
PROTECT THE PLAINTIFF FROM UNCONSTITUTIONAL HARM

31. Each and every allegation set forth in the preceding paragraphs is incorporated herein
by this reference with the same effect as if fully set forth herein.

32. As of September 3, 2014, there existed a clearly recognized civil right to be free from
wrongful and/or illegal acts which would violate the rights guaranteed to Plaintiff under the
Constitution and Laws of the United States and the State of New York.

33. The conduct and actions of the Defendants, acting jointly and severally under color of
state law, failing to take any steps to protect Plaintiff from unjustified arrest, imprisonment, and
prosecution was done intentionally, maliciously, negligently, and/or with a reckless disregard for
the natural and probable consequences of their acts, was done without lawful justification, and
was designed to cause and did cause damage to Plaintiff's reputation, loss of wages and
employment, legal fees, and related damages in violation of Plaintiff's Constitutional rights as
guaranteed under 42 U.S.C. § 1983, and the Fourth and Fourteenth Amendments to the U.S.
Constitution.

34. As a direct and proximate result of the Defendants’ wrongful acts, policies, practices,

customs, and/or usages complained of herein, the Plaintiff suffered injuries and damages,
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including but not limited to, personal injuries, pain and suffering, reputational damage, loss of

wages and employment, loss of his ability to move about freely and unencumbered, legal fees,

and related damages, without any negligence on the part of Plaintiff contributing thereto.
THIRD CLAIM

CONSTITUTIONAL CLAIMS AGAINST
THE CITY, THE NYPD, AND THE DA

35. Each and every allegation set forth in the preceding paragraphs is incorporated herein
by this reference with the same effect as if fully set forth herein.

36. At all times material to this Verified Complaint, the City, acting through the NYPD
and the DA, had in effect de facto policies, practices, and customs exhibiting deliberate
indifference to the constitutional rights of the citizens, residents, and occupants of the City of
New York that were a direct and proximate cause of the unconstitutional conduct of the
Defendants.

37. These de facto policies, practices, and customs include, inter alia: (a) the failure to
properly screen, supervise, discipline, transfer, counsel, and/or otherwise control NYPD officers
responsible for law enforcement and assistant district attorneys responsible for prosecuting
criminal cases; and (b) the failure to properly train and supervise NYPD officers and ADAs to
properly investigate potential criminal activity and to prosecute said criminal activity.

38. At all times herein, the City, the NYPD and the DA have authority to address the
alleged behavior that violates citizens’ constitutional rights and to institute corrective measures.

39. At all times herein, the City, the NYPD, and the DA knew or should have known that
there was no admissible evidence to support an arrest of Plaintiff, but the City, the NYPD, and

the DA failed to take calculated steps to ensure that proper attention was given to Plaintiff's
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circumstances, choosing instead to remain deliberately indifferent to the violation of Plaintiff's
constitutional rights.

40. As a direct and proximate result of the City’s, the NYPD’s, and the DA’s wrongful
acts, policies, practices, customs, and/or usages complained of herein, Plaintiff suffered injuries
and damages, including but not limited to, personal injuries, pain and suffering, reputational
damage, loss of wages and employment, loss of the right to move about freely and
unencumbered, legal fees, and related damages, without any negligence on the part of Plaintiff
contributing thereto.

FOURTH CLAIM
FALSE ARREST AND FALSE IMPRISONMENT

41. Each and every allegation set forth in the preceding paragraphs is incorporated herein
by this reference with the same effect as if fully set forth herein.

42. Defendants NYPD, and the Defendant Officers, acting individually and in concert,
intentionally and deliberately falsely detained, arrested, restrained, and imprisoned Plaintiff
without any admissible evidence that Plaintiff committed a crime.

43. Plaintiff was conscious of his confinement in connection with the unjustified charges
against him, and did not consent to the confinement.

44. The confinement of Plaintiff was not otherwise privileged.

45. As a direct and proximate result of the Defendants’ wrongful acts, policies, practices,
customs, and/or usages complained of herein, Plaintiff suffered injuries and damages, including
but not limited to, personal injuries, pain and suffering, reputational damage, loss of wages and
employment, legal fees, and related damages, without any negligence on the part of Plaintiff

contributing thereto.
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FIFTH CLAIM
MALICIOUS PROSECUTION

46. Each and every allegation set forth in the preceding paragraphs is incorporated herein
by this reference with the same effect as if fully set forth herein.

47. The actions of the NYPD, and the Defendant Officers, acting individually and in
concert, intentionally and deliberately led to a malicious prosecution of Plaintiff by the DA for
Criminal Possession of a Weapon in the Second Degree.

48. A judicial proceeding was commenced and prosecuted against Plaintiff despite the
absence of admissible evidence connecting him to the crimes alleged.

49. As a result of the judicial proceeding, Plaintiff suffered embarrassment and damage to
his reputation.

50. This judicial proceeding was undertaken without probable cause and with malice
aforethought.

51. The judicial proceeding was terminated in favor of Plaintiff on or about November,
26, 2014 when the Appellate Division reversed the Queens County Supreme Court’s denial of
Plaintiff's suppression motion and dismissed the indictment, but not before Plaintiff was
convicted upon a jury verdict on or about August 8, 2012 due to the admission of inadmissible
evidence against him.

52. Plaintiff was injured by having to go through this judicial proceeding and an appeal,
and suffered interference with his person, reputation, wages, and employment as a result of this
proceeding. Plaintiff also suffered severe emotional distress and infringement of his right to

move about freely and unconstrained as a result of the judicial proceeding.

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53. As a direct and proximate result of the Defendants’ wrongful acts, policies, practices,
customs, and/or usages complained of herein, Plaintiff suffered injuries and damages, including
but not limited to, personal injuries, emotional distress, pain and suffering, reputational damage,
loss of wages and employment, loss of the right to move about freely and unencumbered, legal
fees, and related damages, without any negligence on the part of Plaintiff contributing thereto.

SIXTH CLAIM
PENDENT CLAIM OF NEGLIGENT HIRING,
TRAINING AND SUPERVISION AGAINST
THE CITY, THE NYPD, AND THE DA

54. Each and every allegation set forth in the preceding paragraphs is incorporated herein
by this reference with the same effect as if fully set forth herein.

55. At all times relevant herein, the City, the NYPD, and the DA, have been grossly
negligent and/or negligent in the hiring, supervision, training, and monitoring of their officers,
agents, and employees responsible for law enforcement, the investigation of alleged criminal
activity, and the prosecution of said criminal activity.

56. Specifically, officers of the NYPD receive minimal instruction regarding the rights of
those accused to have committed a crime, and these officers receive no proper supervision over
their investigations against alleged criminals, especially when the suspects are black, such as
Plaintiff. This absence of oversight allows a culture of violating civil rights and covering up
mistakes to permeate throughout the ranks of the NYPD.

57. Moreover, a culture exists within the DA where the ADAs assigned to prosecute
cases, and are unsupervised by their superiors, turn a blind eye to constitutional violations
committed by the officers of the NYPD, and fail to properly weed out such cases from the

courts’ docket, thereby wasting the courts’ time in having to issue rulings in cases that should

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have never been brought before the courts due to obvious violations (such as Plaintiffs
underlying case).

58. As a result of the City’s, the NYPD’s, and the DA’s failure to properly hire,
supervise, train, and monitor their officers, agents, and employees, Plaintiff was falsely arrested,
falsely imprisoned, and maliciously prosecuted for the alleged crime of Criminal Possession of a
Weapon.

59. As a direct and proximate result of the Defendants’ wrongful acts, policies, practices,
customs, and/or usages complained of herein, Plaintiff suffered injuries and damages, including
but not limited to, personal injuries, pain and suffering, reputational damage, loss of wages and
employment, legal fees, and related damages, without any negligence on the part of Plaintiff

contributing thereto.

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PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands the following relief jointly and severally against the

Defendants:

(a) Compensatory damages;

(b) Punitive damages;

(c) The convening and empaneling of a jury to consider the merits of the claims herein;

(d) Costs and interest and attorneys’ fees; and

(e) Granting such other and further relief as the Court may deem just and proper.

Dated: Mineola, New York
November 10, 2015

Respectfully submitted, Lf
/f
Cl) f

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VERIFICATION

STATE OF NEW YORK _ )
COUNTY OF NASSAU o

ANTHONY J. COLLELUORI, ESQ. being sworn, deposes and says:

He is a member of RAISER & KENNIFF, P.C. attorneys for Plaintiff IAN HARRIS in
the within action; he has read the within Verified Complaint and knows the contents thereof; and
the same is true to his own knowledge, except and to the matters herein stated to be alleged upon
information and belief, and as to those matters, he believes them to be true.

The source of his information and knowledge are based upon an investigation of the
records on file.

The reason this Verification is being made by deponent and not by the Plaintiff is that the

Plaintiff not within the county where deponent has its offices. ) f
} ‘

“ANTHONY J. COLLEL

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Sworn to before me this

0 day of November, 2015

  

"Notary Pybli

  

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